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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA




DAVID L. SNYDER
in his capacity as counsel for
Andrew G. McCabe
                                                       Civil Action No. 1:18-cv-01389-CKK
       Plaintiff,
                      v.

U.S. DEPARTMENT OF JUSTICE

                      and

U.S. DEPARTMENT OF JUSTICE
OFFICE OF THE INSPECTOR GENERAL

                      and

FEDERAL BUREAU OF INVESTIGATION,

       Defendants.




                            UNOPPOSED MOTION FOR ORDER

      Plaintiff in this Action has asserted claims against the U.S. Department of

Justice, the DOJ’s Office of the Inspector General, and the Federal Bureau of

Investigation under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, and

the Administrative Procedure Act, 5 U.S.C. § 706.

      In the parties’ Joint Status Report submitted October 5, 2018, Plaintiff

requested permission to move for summary judgment on his claims against the FBI.

In support of that request, Plaintiff stated as follows:

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             Since April 2018—just weeks after Defendants unlawfully dismissed
      Andrew G. McCabe from the FBI—Plaintiff has worked in good faith to cause
      Defendants to comply with their proactive disclosure obligations under FOIA,
      see 5 U.S.C. § 552(a)(2).

             Plaintiff sought only those administrative staff manuals and written
      policies which, as a matter of law, should have been applicable to the
      investigation, adjudication, and dismissal of Mr. McCabe. In violation of
      federal law, Defendants failed to make those materials available for public
      inspection in an electronic format without request.

             The materials at issue include documents that the FBI provides to
      every employee and the employee’s attorney at the outset of the disciplinary
      process (“notice materials”). The notice materials explain in detail the
      mechanics of the FBI’s disciplinary process and the numerous rights and
      protections to which each employee is entitled in connection therewith. An
      employee’s receipt of the notice materials is thus foundational to his or her
      receipt of due process. Defendants never provided Mr. McCabe with the
      notice materials (or with any of the materials at issue in this Action). Nor
      have Defendants provided Plaintiff with those materials despite his repeated
      requests.

See ECF No. 17, at 2.

      By minute order entered October 10, 2018, the Court ordered the parties to

file cross-motions for summary judgment on Plaintiff’s claims against the FBI by

October 24, 2018; their oppositions by November 3, 2018; and their replies by

November 10, 2018.

      Notwithstanding the pendency of this Action, and without the cooperation or

assistance of Defendants, counsel for Plaintiff have continued in their exhaustive

efforts to obtain whatever information they can from publicly available sources.

Plaintiff now believes that certain of those efforts and the results therefrom may

obviate the need for him to move for summary judgment as against the FBI.




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      In the interests of efficiency, Plaintiff thus respectfully requests that the

Court (1) continue the current briefing schedule set forth in the Court’s minute

order of October 10, 2018, and (2) order the parties to file a joint status report by

November 29, 2018 stating whether cross-motions for summary judgment relating

to Plaintiff’s claims against the FBI remain necessary.

      On October 18, 2018, Plaintiff asked that Defendants meet and confer in

respect of this Motion. Defendants agreed to hold a teleconference the next day,

October 19, 2018. That same day, Plaintiff emailed Defendants a draft of this

Motion, and advised Defendants that, given the timing, Plaintiff would file the

Motion on Monday, October 22, 2018 if Defendants failed to respond to Plaintiff’s

email. Having received no response from Defendants, Plaintiff has no reason to

believe they oppose this Motion.



Dated: October 22, 2018                  Respectfully submitted,

                                         BOIES SCHILLER FLEXNER LLP

                                         By:   /s/

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